                                                                                Case 3:07-cv-05944-JST Document 4722 Filed 07/18/16 Page 1 of 2




                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5                              IN THE UNITED STATES DISTRICT COURT
                                                                          6                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)                           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                                    )
                                                                                                                                      )   Case No. 07-cv-5944 JST
                                                                          9                                                           )
                                                                                                                                      )   ORDER REQUIRING
                                                                         10   This Order Relates To:                                  )   APPLICATION FOR ENTRY OF
                               For the Northern District of California
United States District Court




                                                                                                                                      )   DEFAULT RE IRICO ENTITIES
                                                                         11   All Indirect Purchaser Actions                          )
                                                                                                                                      )
                                                                         12                                                           )
                                                                         13
                                                                         14          On June 28, 2016, the Court ordered any plaintiff in this consolidated MDL with claims
                                                                         15   against defendants Irico Display Devices Co., Ltd. and Irico Group Corporation (the “Irico
                                                                         16   Entities”) to advise the Court in writing by July 5, 2016 of the following: (1) the date on which it
                                                                         17   filed its operative claims against the Irico Entities; (2) whether the Irico Entities have been served
                                                                         18   with those claims; and (3) whether the Irico Entities have answered those claims. ECF No. 4694. If
                                                                         19   the answer to the third question was negative, the filing party was ordered to show cause why it had
                                                                         20   not requested entry of default. Id.
                                                                         21          On July 5, 2016, the Indirect Purchaser Plaintiffs (“IPPs”) filed a response, indicating that
                                                                         22   they had filed and served claims against the Irico Entities, and that the Irico Entities had not
                                                                         23   answered those claims, but that the IPPs had not sought entry of default. ECF No. 4076. They
                                                                         24   stated that entry of default would have been premature because the damages to be sought from the
                                                                         25   Irico Entities could not be known until the conclusion of the litigation against other defendants, and
                                                                         26   that entry of default would have prejudiced the IPPs.
                                                                         27          The Court concludes that there is no reason the IPPs cannot seek entry of default against the
                                                                         28   Irico Entities now. The IPPs first argument conflates entry of default with entry of default
                                                                                Case 3:07-cv-05944-JST Document 4722 Filed 07/18/16 Page 2 of 2




                                                                         1    judgment. Id. at 3. “The two concepts are distinct and must be treated separately.” United States v.
                                                                         2    Topeka Livestock Auction, Inc., 392 F. Supp. 944, 950 (N.D. Ind. 1975). The first is a ministerial
                                                                         3    act by the clerk of the court once a party has satisfied the requirements of Rule 55(a); the second
                                                                         4    usually requires (and in this case will require) action by the court. Fed. R. Civ. P. 55(b). “Damages
                                                                         5    must be fixed before an entry of default can become a default judgment[.]” 10A Charles Alan
                                                                         6    Wright, et al., Federal Practice & Procedure § 2682 (3d ed. 1998) (footnotes omitted). In any
                                                                         7    event, now that the IPP class settlement has been approved, it is time for the IPPs to reduce their
                                                                         8    remaining claims to judgment. The IPPs’ second argument relies on authority from another district
                                                                         9    that does not apply here. Id. (citing S.D. Cal. Civ. L.R. 55-1).
                                                                         10            The IPPs are ordered to file a request for entry of default judgment within ten days of this
                               For the Northern District of California
United States District Court




                                                                         11   order.
                                                                         12            IT IS SO ORDERED.
                                                                         13   Dated: July 18, 2016
                                                                         14
                                                                                                                                ______________________________________
                                                                         15                                                                    JON S. TIGAR
                                                                         16                                                              United States District Judge

                                                                         17
                                                                         18
                                                                         19
                                                                         20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28



                                                                                                                                  2
